Case 3:23-cv-01608-ADC Document3 Filed 12/19/23 Page 1of 22

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Puerto Rico
The Municipality of San Juan Puerto Rico )
)
)
)
Plaintiff) )
Vv. Civil Action No, 23-cv-01608
Exxon Mobil Corp.; Shel! PLC F.K.A. Royal Dutch )
Shell PLC; Chevron Corp.; BP PLC; ConocoPhillips; )
Motiva Enterprises, LLC; Occidental Petroleum F.K.A.
Andarke Petroleum Corp.; BHP; et als
Defendant(s) )
SUMMONS IN A CIVIL ACTION

To: Wefendant’s name and address} CONOCO Phillips

925 N. Eldridge Parkway
Houston, Texas 77252

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attomey,

whose name and address are: | 6, Ofrices of David Efron

P.O. Box 29314
San Juan, P.R. 00929-0314

Ifyou fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Ada I, Garcia Rivera, Esq., CPA
CLERK OF COURT —

Date:

Signature of Clerk or Deputy Clerk
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23 Page 2 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 23-cv-01608

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ. P. 4 ())

This summons for (name of individual and title, if any}

was received by me on (date)

0 I personally served the summons on the individual at (place)

On (date) ; or

Ci I left the summons at the individual’s residence or usual place of abode with (name)

, apetson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

O [served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
{ Ireturned the summons unexecuted because ; or
I Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23 Page 3 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Puerto Rico

The Municipality of San Juan Puerto Rico

Plaintiffis)
¥.
Exxon Mobil Corp.; Shell PLC F.K.A, Royal Butch
Shell PLC; Chevron Corp.; BP PLC; ConocoPhillips;

Motiva Enterprises, LLC; Occidental Petroleum F.K.A.
Andarko Petroleum Corp.; BHP; et als

Civil Action No, 23-cv-01808

Samm ane Neer” Some” Nome eet” eet” Noe eget” ee Sone” ee”

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: Defendant's name and address) e161 | BL FK.A. ROYAL DUTCH SHELL PLC
SHELL CENTRE
LONDON
SE1 7NA

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure, The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Law Offices of David Efron

P.O, Box 29314
San Juan, P.R. 00929-0314

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint,
You also must file your answer or motion with the court,

Ada I. Garcia Rivera, Esq., CPA
CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 3:23-cv-01608-ADC Document3 Filed 12/19/23 Page 4 of 22

AO 446 (Rey. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 23-cy-01608

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

[1 I personally served the summons on the individual at place)

on (date) 5 or

O} I left the summons at the individual’s residence or usual place of abode with (same)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

OF Iserved the summons on frame of individual) , who is

designated by law to accept service of process on behalf of (name af organization)

on (date} , or
(1 I returned the summons unexecuted because ,or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23 Page 5of 22

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Puerto Rico
The Municipality of San Juan Puerto Rico )
)
)
)
Plaintiffs) )
v. Civil Action No. 23-cv-01608
Exxon Mobil Corp.; Shell PLC F.K.A. Royal Dutch )
Shell PLC; Chevron Corp.; BP PLC; ConocoPhillips; )
Motiva Enterprises, LLC; Occidental Petroleum F.K.A.
Andarke Petroleum Corp.; BHP; et als
Defendant(s) )
SUMMONS IN A CIVIL ACTION

To: Defendant's name and address) RIO TINTO PLC

6 St. James’ Square
London SW1Y 4A

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure, The answer or motion must be served on the plaintiff or plaintiff's attorney,

Whose name and address are: | 44 Offices of David Efron

P.O. Box 29314
San Juan, P.R, 00929-0314

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Ada I. Garcia Rivera, Esq., CPA
CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23 Page 6 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 23-cv-01608

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()))

This summons for (name of individual and title, if any)

was received by me on (date)

C I personally served the summons on the individual at (piace)

on (date) ; or

0 I left the summons at the individual’s residence or usual place of abode with (aame)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

(} I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

On (date) ; or
O1 I returned the summons unexecuted because or
OF Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23 Page 7 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Puerto Rico

The Municipality of San Juan Puerto Rico

Plaintiffs)
v.
Exxon Mobil Corp.; Shell PLC F.K.A. Royal Dutch
Shell PLC; Chevron Corp.; BP PLC; ConocoPhillips;

Motiva Enterprises, LLC; Occidental Petroleum F.K.A.
Andarko Petrofeum Corp.; BHP; et als

Civil Action No, 23-cv-01608

mp” Nag” ae” See Sec” Sime Same Snel” Soe” Se

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: Defendant's name and address) BP PLC

1 St. James' Square
London SW1 Y 4PD

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ,
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Law Offices of David Efron

P.O. Box 29314
San Juan, P.R. 00929-0314

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Ada I. Garcia Rivera, Esgq., CPA
CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23 Page 8 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 23-cv-01608

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

C1 I personally served the summons on the individual at (place)

Of) (date) ; or

O {left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

(1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

On (date) ,or
O I returned the summons unexecuted because 5 or
C1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 8.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23 Page 9 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Puerto Rico

The Municipality of San Juan Puerto Rico

Plaintiffs)
¥.
Exxon Mobil! Corp.; Shell PLC F.K.A, Royal Butch
Shell PLC; Chevron Corp.; BP PLC; ConocoPhillips;

Motiva Enterprises, LLC; Occidental Petroleum F.K.A.
Andarko Petroleum Corp.; BHP; et als

Civil Action No, 23-cv-01608

ee ee” eee” gee” Soe” nme” me” nee Senet” Sie!” Sane”

Defendant(s}
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Peabody Energy

Peabody Plaza
701 Market St.
St. Louis, MO 63101-1826

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Law Offices of David Efron

P.O, Box 29314
San Juan, P.R. 00929-0314

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Ada I. Garcia Rivera, Esq., CPA
CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23. Page 10 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2}

Civil Action No. 23-cv-01608

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R, Civ. P. 4 ())

This summons for (name of individual and ttle, if any)

was received by me on (date)

CF I personally served the summons on the individual at (place)

on (date) 5 or

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address: or

0 Iserved the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) or
(J I returned the summons unexecuted because , or
CO Other specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23. Page 11 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Puerto Rico
The Municipality of San Juan Puerto Rico }
)
)
)
Plaintiff(s) )
v. Civil Action No, 23-cv-01608
Exxon Mobil Corp.; Shell PLC F.K.A. Royal Dutch )
Shell PLC; Chevron Corp.; BP PLC; ConocoPhillips; )
Motiva Enterprises, LLC; Occidental Petroleum F.K.A.
Andarko Petroleum Corp.; BHP; et als
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) lc ollins Street

Melbourne, Victoria
3000, Autralia

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ,
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Law Offices of David Efron

P.O. Box 29314
San Juan, P.R. 00929-0314

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Ada I. Garcia Rivera, Esq., CPA
CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23. Page 12 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 23-cv-01608

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

I personally served the summons on the individual at (place)

on (date) 5 OF

1 1 left the summons at the individual’s residence or usual place of abode with (name)

, 2 person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

0 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) > OF
OF T returned the summons unexecuted because 3 or
Ol Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23. Page 13 of 22

AO 440 (Rev. 66/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Puerto Rico
The Municipatity of San Juan Puerto Rico }
)
)
)
Plaintiff(s) )
v, Civil Action No. 23-cv-01608
Exxon Mobil Corp.; Shell PLC F.K.A. Royal Dutch )
Shell PLC; Chevron Corp.; BP PLC; ConocoPhillips; )
Motiva Enterprises, LLC; Occidental Petroleum F.K.A.
Andarko Petroleum Corp.; BHP; et als
Defendant(s) )
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) nec Resources Incorporated F,K.A. Arch Coal
1 City Place Drive, Suite 300
St. Louis, MO 63141

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ,
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Law Offices of David Efron

P.O. Box 29314
San Juan, P.R. 00929-0314

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint,
You also must file your answer or motion with the court,

Ada I. Garcia Rivera, Esq, CPA
CLERK OF COURT

Date:

Signature of Clerk ar Deputy Clerk
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23. Page 14 of 22

AO 440 (Rev, 06/12} Summons in a Civil Action (Page 2)

Civil Action No. 23-cv-01608

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (D)

This summons for (name of individual and title, if any)

was received by me on (date)

( I personally served the summons on the individual at (place)

on (date) ; or

CI I left the summons at the individual’s residence or usual place of abode with (aame)

, a person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

O Iserved the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 5 OF
CI returned the summons unexecuted because or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

server 's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 3:23-cv-01608-ADC Document3 Filed 12/19/23. Page 15 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Puerto Rico i

The Municipality of San Juan Puerto Rico

Plaintiffs)
v.
Exxon Mobil Corp.; Shell PLG F.K.A. Royal Dutch
Shell PLC; Chevron Corp.; BP PLC; ConocoPhillips;

Motiva Enterprises, LLC; Occidental Petroleum F.K.A.
Andarko Petroleum Corp.; BHP; et als

Civil Action No. 23-cv-01608

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Chevron Corp

8001 Bollinger Cayon Rd.
San Ramon, CA 94583

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R. Civ.
P. 12 (a)(2) or (3} — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: ,

Law Offices of David Efron

P.O. Box 29374
San Juan, P.R. 00929-0314

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court,

Ada I. Garcia Rivera, Esg., CPA
CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23. Page 16 of 22

AO 440 (Rev. 06/12} Summons in a Civil Action (Page 2)

Civil Action No, 23-cv-01608

‘PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (D)

This summons for (name of individual and tile, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) ; Or

[ I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

On. (date) , and mailed a copy to the individual’s last known address; or

 Iserved the summons on (name of individual) » who is

designated by law to accept service of process on behalf of (name of organization)

On (date) sor
(1 [returned the summons unexecuted because ; or
[1] Other (specifi):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23. Page 17 of 22

AG 440 (Rev, 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Puerto Rico [-]

The Municipality of San Juan Puerto Rico }

}

)

)

Plaintiff{s} )

v. Civil Action No. 23-cv-01608

Exxon Mobil Corp.; Shell PLC F.K.A. Royal Dutch )

Shell PLC; Chevron Corp.; BP PLC; ConocoPhillips; )
Motiva Enterprises, LLC; Occidental Petroleum F.K.A.

Andarko Petroleum Corp.; BHP; et als

Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: Defendant's name and address) ¢. i 4ental Ptroleum F.KA. Anadarko Petroleum
5 Greenway Plaza Suite 110
Houston, Texas XXX-XX-XXXX

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

Whose name and address are: Law Offices of David Efran

P.O, Box 29314
San Juan, P.R. 00929-0314

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Ada I. Garcia Rivera, Esq., CPA
CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23. Page 18 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 23-cv-01608

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

0 I personally served the summons on the individual at (place)

on (date) 5 or

0 I left the summons at the individual’s residence or usual place of abode with (name)

, 4 person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

O I served the summons on (name of individual) » who is

designated by law to accept service of process on behalf of (name of organization)

On. (date} ; Or
O} I returned the summons unexecuted because ; or
C) Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 3:23-cv-01608-ADC Document3 Filed 12/19/23. Page 19 of 22

AO 440 (Rev, 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the

District of Puerto Rico

The Municipality of San Juan Puerto Rico

Plaintiffs)
v.
Exxon Mobil Corp.; Shell PLC F.K.A, Royal Dutch
Shell PLC; Chevron Corp.; BP PLC; ConocoPhillips;

Motiva Enterprises, LLC; Occidental Petroleum F.K.A.
Andarko Petroleum Corp.; BHP; et als

Civil Action No, 23-cv-01608

Nome” Nome” ene ne” Se Seg” Sine” “eee ne” Me” ee” et”

Defendant{s}
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) MOTIVA Enperprises LLC

§00 Dallas St. Floor $
Houston, Texas 77002--4800

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Law Offices of David Efron

P.O, Box 29314
San Juan, P.R. 00929-0314

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Ada I. Garcia Rivera, Esq., CPA
CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23. Page 20 of 22

AG 440 (Rey, 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 23-cv-01608

‘PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ, P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

[1 J personally served the summons on the individual at (place)

on (date) or

0) I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

Oni (date) , aud mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) » who is

designated by law to accept service of process on behalf of (name of organization)

On (date) ; Or
0 I returned the summons unexecuted because 5 or
1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

J declare under penalty of perjury that this information is true,

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 3:23-cv-01608-ADC Document3 _ Filed 12/19/23. Page 21 of 22

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Puerto Rico
The Municipality of San Juan Puerto Rico )
)
)
)
Plaintiff(s) )
Vv Civil Action No, 23-cv-01608
Exxon Mobil Corp.; Shell PLC F.K.A. Royal Dutch )
Shell PLC; Chevron Corp.; BP PLC; ConocoPhillips; )
Motiva Enterprises, LLC; Occidental Petroleum F.K.A.
Andarko Petroleum Corp.; BHP; et als
Defendani(s) )
SUMMONS IN A CIVIL ACTION

Exxon Mobil Corp.
5959 Las Colinas Boulevard
Irving, Texas 75039-2298

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Law Offices of David Efron

P.O. Box 29314
San Juan, P.R. 00929-0314

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Ada I. Garcia Rivera, Esg., CPA
CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
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Civil Action No. 23-cv-01608

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

( Tpersonally served the summons on the individual at (piace)

On (date) ; Or

© [left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

O I served the summons on (name of individual) ,» who is

designated by law to accept service of process on behalf of (name of organization)

on (date) > Or
0 I returned the summons unexecuted because 3; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
